      Case 3:16-md-02734-MCR-GRJ Document 8 Filed 10/19/16 Page 1 of 10




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION

 IN RE: ABILIFY (ARIPIPRAZOLE)                 Case No. 3:16-md-2734
 PRODUCTS LIABILITY
 LITIGATION
                                               Chief Judge M. Casey Rodgers
                                               Magistrate Judge Gary Jones
 This document relates to all cases


             ORDER ESTABLISHING INTERIM PROCEDURES

       This Order applies to all cases currently pending in In re: Abilify

(Aripiprazole) Products Liability Litigation, Master Case Number 3:16-md-2734

and to all related actions that have been or will be originally filed in, transferred to,

or removed to this court and assigned as a member or tag-along case to this

Multidistrict Litigation (“MDL”) proceeding. A list of cases presently consolidated

into this MDL action is included as Attachment A.

       Pursuant to the Manual for Complex Litigation section 11.12, the court hereby

establishes, sua sponte, interim procedures until such time as an Initial Case

Conference (“ICC”) is held and a Case Management Order (“CMO”) entered.

 I.    Initial Case Conference; Appointment of Interim Lead and Liaison
       Counsel
       This matter is hereby scheduled for an Initial Case Conference (“ICC”) on

November 7, 2016, beginning at 11:00 A.M. Central Standard Time, in the Second

Floor Courtroom of the United States Courthouse, Arnow Building, 100 North
     Case 3:16-md-02734-MCR-GRJ Document 8 Filed 10/19/16 Page 2 of 10

                                                                          Page 2 of 10


Palafox Street, Pensacola, Florida. Until that time, the court hereby appoints interim

co-lead counsel for plaintiffs, as follows:

       B. Kristian W. Rasmussen
       Cory Watson Attorneys
       2131 Magnolia Avenue, Suite 200
       Birmingham, AL 35205
       Phone: (205) 328-2200
       Email: krasmussen@corywatson.com

       Gary L. Wilson
       Robins Kaplan LLP
       800 LaSalle Avenue
       2800 LaSalle Plaza
       Minneapolis, MN 55402-2015
       Phone: (612) 349-8500
       Email: gwilson@robinskaplan.com

Interim co-lead counsel are responsible for organizing the required pre-ICC

submissions established below, directing the activities of plaintiffs during the ICC,

and performing such other duties as may be incidental to the proper coordination of

plaintiffs’ pretrial activities.

       Additionally, the court appoints interim liaison counsel for plaintiffs as

follows:

       Bryan F. Aylstock
       Aylstock Witkin Kreis & Overholtz, PLLC
       17 E Main Street, Suite 200
       Pensacola, FL 32502
       Phone: (850) 916-7450
       Email: baylstock@awkolaw.com

Case No. 3:16-md-2734
     Case 3:16-md-02734-MCR-GRJ Document 8 Filed 10/19/16 Page 3 of 10

                                                                            Page 3 of 10


Interim liaison counsel will receive and, as appropriate, distribute orders from the

court and documents from opposing parties to counsel or pro se plaintiffs in the cases

identified in Attachment A and the second Conditional Transfer Order, ECF No. 4.

Interim liaison counsel is also authorized to receive orders and notices from the

Judicial Panel on Multidistrict Litigation, pursuant to Rule 8(e) of the Panel’s Rules

of Procedure, on behalf of all plaintiffs, and is responsible for the preparation and

transmittal of copies of orders and notices to counsel or pro se plaintiffs in the cases

identified in the Attachment A and the second Conditional Transfer Order, ECF

No. 4.

         Due to the limited number of defendants involved in this litigation, the court

does not see a need to appoint interim lead or liaison counsel for defendants at this

time. Until the court establishes docketing and filing procedures for this MDL

action, notice will be sent to those defense counsel, identified in Attachment B, who

either received notice before the JPML or appeared in the related actions that were

originally filed in this court. Any objections to the appointed interim counsel must

be made within five (5) days of receipt of this order.

         Interim co-lead and liaison counsel for plaintiffs and counsel for defendants

must meet and confer in advance of the ICC. At least seven calendar days prior to

the ICC, counsel are required to submit the following:




Case No. 3:16-md-2734
     Case 3:16-md-02734-MCR-GRJ Document 8 Filed 10/19/16 Page 4 of 10

                                                                          Page 4 of 10


      1.     Joint Proposed Agenda. In addition to any other issues raised by the

             parties, the agenda should include the following items:

             •     Organizational Structure. Plaintiffs and defendants should each

                   include a proposed organizational structure detailing the role of

                   lead and/or liaison counsel, federal-state liaison counsel, and/or

                   steering committees, if any. Once a structure is established by the

                   court, applications will be solicited and appointments made by

                   the court.

             •     Submission of a Science Tutorial. The parties must submit their

                   views regarding whether a scientific and/or medical tutorial

                   would be helpful to the court in deciding any of the issues

                   involved in this MDL action; and if so, the appropriate format.

             •     Protective Order. The parties must submit suggestions regarding

                   the content and timing of a proposed Protective Order.

             •     Case Management Order. Finally, the parties must suggest the

                   content and timing for submission of a proposed Case

                   Management Order (“CMO”). In addition to the normal array of

                   deadlines and other issues, any proposed CMO must address the

                   following: (a) establishment of a document repository, and

                   agreement on a document production format that is electronically


Case No. 3:16-md-2734
     Case 3:16-md-02734-MCR-GRJ Document 8 Filed 10/19/16 Page 5 of 10

                                                                           Page 5 of 10


                   search-capable; (b) stipulations regarding service of process; (c)

                   coordination with state court litigation; (d) whether a master

                   complaint is appropriate, and if so, why it is appropriate and what

                   form should it take; (e) how to deal with class action litigation,

                   if expected; (f) employment of medical releases and party fact

                   sheets; (g) use of a tolling agreement, if appropriate; (h) use of a

                   preservation order, if appropriate; and (j) whether bellwether

                   trails are appropriate, and if so, why they are appropriate.

      2.     Separate Submissions. The parties must also separately submit the

             following items seven calendar days prior to the ICC:

                • Briefs Regarding Current Status. The parties must each submit

                    a brief (25 pages or less), one for plaintiffs and one for each

                    defendant, unless defendants all agree to the submission of a

                    single brief, outlining their views on: (a) the primary facts,

                    allegations, claims, and defenses involved in the litigation,

                    together with any other pertinent legal and factual background;

                    (b) an overview of the procedural status of all cases identified in

                    Attachment A and the second Conditional Transfer Order, ECF

                    No. 5, any cases counsel anticipates will be transferred to this

                    MDL action, and any related state-court litigation, including: (1)


Case No. 3:16-md-2734
        Case 3:16-md-02734-MCR-GRJ Document 8 Filed 10/19/16 Page 6 of 10

                                                                                 Page 6 of 10


                         the status of discovery to date, (2) the status of motions,

                         decisions, and other important events in the litigation, if any; (c)

                         the status of any related state-court litigation; and (d) a

                         prediction of the number of cases that may become a part of this

                         MDL and the number of related cases that will remain in state

                         courts. These briefs will not be binding, will not waive any

                         claims or defenses, and may not be offered in evidence against

                         a party in later proceedings.

                     • Submission of Contact List. The parties must also present a list

                         of all counsel of record and pro se plaintiffs, together with their

                         contact information (addresses, work and cell telephone

                         numbers, fax numbers, and e-mail addresses).                 These

                         submissions should be in electronic format, such as a Word,

                         WordPerfect, or Excel document and sent by email to Courtroom

                         Deputy Susan Simms at Susan_Simms@flnd.uscourts.gov.

          Interim co-lead and liaison counsel for plaintiffs are expected to represent the

interests of all plaintiffs at the ICC; however, counsel for any plaintiff, or any pro se

plaintiff, may also appear if he/she so chooses. Counsel or any pro se plaintiff who

cannot attend the ICC in person may participate by telephone conference call.1 By


1
    Telephonic conference instructions will be provided separately.

Case No. 3:16-md-2734
      Case 3:16-md-02734-MCR-GRJ Document 8 Filed 10/19/16 Page 7 of 10

                                                                           Page 7 of 10


close of business on November 4, 2016, any counsel or pro se plaintiff who intends

to participate in the telephone conference call must notify Courtroom Deputy Susan

Simms by email at Susan_Simms@flnd.uscourts.gov or by voicemail message at

(850) 470-8125. This message should clearly identify the participant and state that

the individual intends to participate in the MDL ICC conference call. Attendance at

the ICC will not constitute a waiver of objections to jurisdiction, venue, or service.

II.    GOVERNING PROVISIONS PENDING ENTRY OF A CASE
       MANAGEMENT ORDER.

       Prior to the court’s entry of a comprehensive CMO governing all further

pretrial proceedings in this MDL action, the following provisions will govern the

practice and procedure in all cases to which this Order applies.

       •     The civil actions listed in Attachment A have been consolidated for

             pretrial purposes. This consolidation, however, does not constitute a

             determination that the actions should be consolidated for trial, nor does

             it have the effect of making any person or entity a party to any action

             in which that party has not been named, served, or added in accordance

             with the Federal Rules of Civil Procedure.

       •     Counsel are required to familiarize themselves with this court’s Local

             Rules, including the Addendum on Customary and Traditional Conduct

             and Decorum. However, the provisions of this Order supersede any

             inconsistent provisions of the court’s Local Rules. Counsel must also

Case No. 3:16-md-2734
     Case 3:16-md-02734-MCR-GRJ Document 8 Filed 10/19/16 Page 8 of 10

                                                                            Page 8 of 10


             familiarize themselves with the current edition of the Manual for

             Complex Litigation, which is adopted by the court for general guidance.

      •      All outstanding discovery proceedings in the cases identified in

             Attachment A are STAYED, and no further discovery may be initiated

             pending entry of this court’s CMO. The time requirements to perform

             any act or file any papers, pursuant to Rules 26 through 37, Federal

             Rules of Civil Procedure, are tolled until the court sets a discovery

             schedule. Once the transfer of the case identified in the second

             Conditional Transfer Order, ECF No. 3, is finalized, discovery must be

             stayed and all time requirements are similarly tolled.

      •      Any motion that was pending before the transfer to this MDL court is

             no longer pending. Once a CMO is entered, the parties will be given an

             opportunity and a deadline to refile motions.

      •      Prior to the entry of a formal protective order, all parties must take

             reasonable steps to preserve documents and other records (including

             electronic documents) containing information potentially relevant to

             the subject matter of this litigation.

      •      Interim liaison counsel must provide a copy of this Order to attorneys

             and pro se plaintiffs in all cases that are newly filed with or transferred

             to this MDL court.


Case No. 3:16-md-2734
     Case 3:16-md-02734-MCR-GRJ Document 8 Filed 10/19/16 Page 9 of 10

                                                                          Page 9 of 10


      •      Unless otherwise ordered by the court, all substantive communications

             with the court must be in writing through CM/ECF. Interim liaison

             counsel is responsible for disseminating information to other plaintiffs’

             counsel and pro se plaintiffs as appropriate.

      •      The court recognizes that cooperation among counsel and parties is

             essential for the orderly and expeditious resolution of this litigation.

             The communication, transmission, or dissemination of information in

             connection with this MDL action among and between plaintiffs’

             counsel, or among and between defendants’ counsel, will not, by itself,

             be deemed a waiver of the attorney-client privilege, the protection

             afforded by the work-product doctrine, the protection afforded to

             material prepared for litigation, the joint-prosecution or joint-defense

             privilege, or any other privilege to which a party may be entitled.

             Cooperative efforts between the parties and counsel must not in any

             way be: (1) used against any of the parties, (2) cited as purported

             evidence of a conspiracy, wrongful action, or wrongful conduct, or (3)

             communicated to the jury at the trial of any action. Nothing in this

             paragraph will in any way affect the applicability of any privileges or

             protection against disclosure otherwise available under the law.




Case No. 3:16-md-2734
    Case 3:16-md-02734-MCR-GRJ Document 8 Filed 10/19/16 Page 10 of 10

                                                                         Page 10 of 10


      •      Any orders, including protective orders, previously entered by this

             court or any transferor district court or state court before removal

             remain in full force and effect, unless expressly vacated by subsequent

             order of this court to the extent any such order is not inconsistent with

             this Order.

      •      Questions regarding this MDL action may be directed to either the

             MDL Coordinator for the Clerk of Court’s Office, Donna Bajzik, at

             (850) 470-8188 or Donna_Bajzik@flnd.uscourts.gov, or to the law

             clerk assigned to this matter, Gwendelynn Bills at (850) 470-8144 or

             Gwendelynn_Bills@flnd.uscourts.gov.

The court expects to enter an order establishing docketing and filing procedures in

the near future.

      DONE and ORDERED on this 19th day of October, 2016.

                                M. Casey Rodgers
                                M. CASEY RODGERS
                                CHIEF UNITED STATES DISTRICT JUDGE




Case No. 3:16-md-2734
